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                              BEFORE THE JUDICIAL PANEL
                             ON MULTIDISTRICT LITIGATION


In re: National Prescription
Opiate Litigation                                              MDL No. 2804


                                  SUGGESTION OF REMAND

Cobb County v. Purdue Pharma L.P. et al, case no. 1:18-op-45817-DAP (N.D. Ohio)

[originally case no. 1:18-cv-02865 (N.D. Ga.), transferred to the MDL Court on June 11, 2018]



       The Judicial Panel on Multidistrict Litigation (“JPML”) transferred the above-listed action

to the undersigned for coordinated or consolidated pretrial proceedings. For the reasons stated

below, and pursuant to Rule 10.1(b)(i) of the Rules of Procedure of the JPML, the undersigned

transferee judge now suggests that this case be remanded to the transferor court.



GENERAL BACKGROUND

       As the JPML is surely aware, the multidistrict litigation known as In re: National

Prescription Opiate Litigation is extremely complex. Unlike many MDLs, where the plaintiffs are

individuals or businesses, most of the Opiate MDL plaintiffs are governmental entities from across

America—for example, Cities, Counties, and Indian Tribes. These plaintiffs claim the defendants

are directly responsible for creating the nation’s ongoing Opioid Crisis and they assert various claims

to obtain damages and abatement.

       In addition to the governmental entity plaintiffs, there are also other classes of plaintiffs
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pressing similar claims—for example: (1) hospitals; and (2) third-party payors (“TPPs”) (e.g. Union

Health and Welfare Funds).

       Just as there are different types of plaintiffs, there are also different categories of defendants,

each of which play a role in the supply of prescription drugs in America. These defendants include:

(1) opioid manufacturers, (2) opioid distributors, (3) opioid dispensers (e.g. pharmacies), and (4)

third-party administrators of prescription drug programs, known as pharmacy benefit managers

(“PBMs”).1 Many of these Defendants are Fortune 500 companies.

       The undersigned has designated multiple bellwether cases to address the various

plaintiff/defendant match-ups. For example, the MDL Court has identified bellwether cases to

litigate claims asserted by: (1) a City against the three largest manufacturer defendants; (2) a City

against the three largest distributor defendants; (3) a City against the three largest pharmacy

defendants; (4) Third-Party Payors against the three largest manufacturer and three largest pharmacy

defendants; (5) Hospitals against the three largest distributor defendants; (6) Tribes against various

defendants; and so on.

       These bellwether cases have helped lead to global settlements totaling nearly $70 Billion.

The chart below shows, with an “X”, the plaintiff/defendant match-ups that have so far reached a

global settlement in full or in principle. The chart does not show numerous smaller distributor or

pharmacy defendants, nor defendants in bankruptcy (such as Mallinckrodt, Endo, Purdue, or Rite

Aid). As a general matter, the MDL Court has designated (or soon will) one or more bellwether

cases for every plaintiff/defendant match-up in the chart that shows a blank cell.



       1
        Individual members of the Sackler family, who own opioid manufacturer Purdue Pharma,
comprise another category of defendant.

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  Manufacturer        Municipalities          Tribes               TPPs             Hospitals
   Defendants
 J&J                         X                   X
 Teva                        X                   X
 Allergan                    X                   X
 Eight Smaller               X                   X                 N/A                 N/A
 Defendants
   Distributor       Municipalities           Tribes               TPPs             Hospitals
   Defendants
 Cardinal                    X                   X                   X                   X
 McKesson                    X                   X                   X                   X
 Cencora                     X                   X                   X                   X
   Pharmacy          Municipalities           Tribes               TPPs             Hospitals
   Defendants
 Walmart                     X                   X
 Walgreens                   X                   X
 CVS                         X                   X
 Kroger                      X                   X                 N/A                 N/A
 Albertsons                                                        N/A                 N/A
 Costco                                                            N/A                 N/A
 Publix                                                            N/A                 N/A


THE COBB COUNTY CASE

        One cell in the chart above that does not contain an “X” is the one representing claims by a

City or County against pharmacy-defendant Publix. In 2021, the MDL Court chose Cobb County

v. Purdue Pharma L.P. et al, case no. 1:18-op-45817-DAP (N.D. Ohio) (originally case no.

1:18-cv-02865 (N.D. Ga.)), as a bellwether to test that species of claim.


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       The parties in Cobb County have completed fact and expert discovery. The MDL Court

recently denied plaintiff’s motion for summary judgment. The parties elected not to file any Daubert

motions. There are no remaining deadlines in the operative case management order.

       Accordingly, the MDL Court believes all “pretrial proceedings” have been concluded, so the

time has come for Cobb County to be “remanded by the panel . . . to the district from which it was

transferred.” See 28 U.S.C. §1407(a).

       The undersigned, as well as MDL Special Master David R. Cohen, remain available to assist

the Panel and the transferor court in any way they might wish.

                                                     Respectfully Submitted,

                                                     /s/ Dan Aaron Polster
                                                     DAN AARON POLSTER
                                                     UNITED STATES DISTRICT JUDGE
                                                     (MDL TRANSFEREE COURT)

Date: November 18, 2024




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